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                                  #:1483



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13                     UNITED STATES DISTRICT COURT
14       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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16 GLOBAL INVESTMENT                        Case No. 2:23-cv-00472-AB-KS
   VENTURES, LLC, a Delaware limited        Honorable André Birotte, Jr.
17
   liability company,
18
                Plaintiff,                  [PROPOSED] JUDGMENT
19
20       v.
21
   ROBERT W. STOUT, an individual,
22 and DOES 1-10,
23
               Defendant.
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                                  [PROPOSED] JUDGMENT
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                                   #:1484



 1         In accordance with this Court’s December 19, 2024 order Granting Plaintiff
 2 Global Investment Ventures, LLC’s (“Plaintiff” or “GIV”) Motion For Partial
 3 Summary Judgment on GIV’s first claim for Breach of Guaranty (Dkt. 62); this
 4 Court’s order Denying Defendant Robert Stout’s (“Defendant” or “Stout”) Cross-
 5 Motion for Partial Summary Judgment (id.); and the parties’ joint stipulation to
 6 dismiss GIV’s only remaining claim for Promissory Fraud (Dkt. 64), the Court,
 7 pursuant to Federal Rule of Civil Procedure 58, enters this Judgment in favor of
 8 GIV, and against Stout as follows:
 9         IT IS HEREBY ORDERED AND ADJUDGED THAT:
10         1.    GIV’s Promissory Fraud Claim is dismissed with prejudice, with each
11               Party bearing its own fees and costs as to the Promissory Fraud claim,
12               only;
13         2.    Judgment is hereby entered in favor of GIV and against Stout with
14               respect to GIV’s claim for Breach of Guaranty;
15         3.    GIV is to recover from Stout, the sum of $640,000.00, plus 10%
16               prejudgment interest (Cal. Civ. Code § 3289(b)), in the amount of
17               $117,534.24, accruing from August 9, 2023 – the date of entry of the
18               Amended Judgment against Kingdom Logistics, LLC, and thus
19               guaranteed by Stout, entered in the Commonwealth of Kentucky,
20               Fayette Circuit Court, Case No. 22-CI-03075 – until January 10, 2025,
21               for a total of $757,534.24;
22         4.    GIV is to further recover its applicable attorneys’ fees and costs, and
23               any other applicable pre- and post-judgment interest, in amounts to be
24               determined through a separately filed noticed motion, stipulation,
25               and/or Application to Tax Costs.
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                                    [PROPOSED] JUDGMENT
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 1       5.    GIV’s motion seeking attorneys’ fees, costs, and interest shall be
 2             brought within 30 days of entry of this Judgment.
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 4       IT IS SO ORDERED.
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 6 Dated: January 15, 2025
 7                                              Honorable André Birotte, Jr.
                                                UNITED STATES DISTRICT JUDGE
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                                  [PROPOSED] JUDGMENT
